          Case 5:15-cv-00200-MTT Document 5 Filed 06/10/15 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION

NAPOLEON GRAY ,                                   *

                     Plaintiff,                   *
v.                                                    Case No. 5:15-CV-200 (MTT)
                                                  *
GOV. NATHAN DEAL, et al,
                                                  *
                  Defendants.
___________________________________               *


                                      JUDGMENT

       Pursuant to this Court’s Order dated June 9, 2015, and for the reasons stated therein,

JUDGMENT is hereby entered dismissing this case. Plaintiff shall recover nothing of Defendant.

       This 10th day of June, 2015.

                                           David W. Bunt, Clerk


                                           s/ Gail G. Sellers, Deputy Clerk
